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IN THE UNITED sTATEs DISTRICT CoURT £D B" ~ _.s D.c.
FoR THE WESTERN DISTRICT or TENNESSEE 95 AU,. 3
WESTERN DIvIsIoN b ' FH '+= 514
MICHAEL B. BAILEY,
Plaintiff,
vs. No. 03-2996 Ml/An

JURY DEMANDED
SHERIFF MARK LUTTRELL, JR.,
et al.,

Defendants.

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ORDER GRANTING MOTION FOR ENLARGEMENT OF
TIME TO COMPLE'I`E DISCOVERY

 

Before the Court is Plaintift’s I\/lotion for Enlargement of Time to Complete Discovery
filed on August 5, 2004. For good cause shown, the motion is GRANTED.

While Plaintit`f requests additional time to complete discovery, the Wording of the Motion
appears to claim that Plaintiff has not received discovery responses from the Defendants to Which
he thinks he is entitled. In their response, Defendants state that they have responded to all
discovery requests submitted by Plaintiff but, apparently they objected to certain discovery
requests when they thought appropriate

l’laintifiC is advised that he must tile a Motion to Compel Discovery under Fed. R. Civ. P.
26(b)(l) if he believes the Defendants have not properly responded or objected to discovery
requests that he thinks are relevant and appropriate Prior to filing a Motion to Compel
Discovery, however, the Plaintiff must comply with Local Rule 7.2 and must consult With
counsel for Defendants in an attempt to resolve the discovery dispute. Since the Plaintit`t` is

incarcerated, he can consult counsel for Defendants by mail.

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with Ftu!e 56 and/or ?9(€1) Fr~tCP on 51 ' 2 Q 5

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While it is somewhat unclear as to Whether the Plaintiff really needs more time to
complete discovery or Whether he is actually concerned because the Defendants have objected to
certain discovery requests or have provided responses Plaintiff believes are not acceptablc, the
Court Will grant the Motion and extend the deadline for completing discovery to September 20,
2005. The dispositive motion deadline shall remain October 14, 2005 and trial is currently
scheduled for February l3, 2006.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 3} ,_ 200_\/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-02996 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

ESSEE

 

Michael B. Bailey
STSRCF

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l\/letnphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

